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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

LARRY RAY LINCKS,                                §
              Movant,                            §
                                                 §
v.                                               §   No. 3:20-cv-1603-B-BT
                                                 §
UNITED STATES OF AMERICA,                        §
             Respondent.                         §

             ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

       After making an independent review of the pleadings, files and records in this case, and the

Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated October

5, 2021, the Court finds that the Findings and Recommendation of the Magistrate Judge are correct,

and they are accepted as the Findings, Conclusions, and Recommendation of the Court. IT IS,

THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge are accepted.

       SO ORDERED this 20th day of October, 2021.



                                             _________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
